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                                        United States District Court
                                                                      for the

                                                           Eastern District of Virginia


                    United States of America
                                   V.

                                                                                  Case No. 1:22-Gr-154
                      Ricardo Glenn Thome


                              Defendant

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection ofa DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.
      The defendant must appear at:              United States District Court
                                                                                          Place

      401 Courthouse Square, Alexandria, VA 22314

      on                                     AschrecteA
                                                                        Date and Time


      If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.
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